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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________
                                    :
HOMELAND INSURANCE COMPANY :
OF DELAWARE                         :
                                    :
      Plaintiff,                    :     Civil Action No. _______
                                    :
v.                                  :
                                    :
THE DEVEREUX FOUNDATION,            :
                                    :
      Defendants.                   :
______________________________________________________________________________

                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff, Homeland Insurance Company of Delaware (“Homeland”), by and through its

attorneys, brings this Complaint for Declaratory Judgment against The Devereux Foundation

(“Devereux”), and in support thereof, alleges as follows:

                                  NATURE OF THE ACTION

       1.       This is an action for declaratory relief under 28 U.S.C. §§ 2201 and 2202, in

which Homeland seeks a declaration that it has no duty to indemnify under policies of insurance

issued to Devereux for an underlying personal injury lawsuit filed by Eric Johnson that resulted

in a jury verdict against Devereux on or about March 17, 2017.


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                                          THE PARTIES

       2.       Plaintiff Homeland is a corporation organized and existing under the laws of the

State of Delaware, and has its principal place of business in Plymouth, Minnesota.

       3.       Defendant Devereux is a Pennsylvania non-profit with its principal place of

business at 444 Devereux Drive, Villanova, PA 19085

                                 JURISDICTION AND VENUE

       4.       This declaratory judgment action is filed pursuant to 28 U.S.C. §§ 2201, 2202 and

Rule 57 of the Federal Rules of Civil Procedure to determine an actual justiciable controversy

between Homeland and Devereux regarding the parties’ rights under policies of insurance.

       5.       This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between citizens of different states.

       6.       Venue is proper in this Court under 28 U.S.C. § 1391(a) because a substantial part

of the events or omissions giving rise to this lawsuit occurred within this judicial district.


                                     THE JOHNSON CLAIM

       7.       On May 14, 2014, Johnson filed a Praecipe for Writ of Summons in the

Philadelphia Court of Common Pleas, formally commencing a civil action against Devereux

(“Johnson Claim”). The Johnson Claim is titled Jonson v. Devereux Foundation, et al., Case ID

140501360 (Philadelphia County Court of Common Pleas).

       8.       Devereux received service of the Writ of Summons on June 20, 2014. Copies of

the Affidavits of Service are attached hereto as Exhibit A.

       9.       Counsel for Devereux entered an appearance on June 26, 2014.




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       10.     Johnson filed a Complaint on October 6, 2014, and ultimately a second Amended

Complaint on December 23, 2014. A copy of the Amended Complaint is attached hereto as

Exhibit B.

       11.     According to the Complaint, Devereux inpatient client Shykir Crew allegedly

eloped from Devereux’s Glenmoore (Pa.) facility on June 22, 2011, traveled back to West

Philadelphia, and robbed and shot the plaintiff, Eric Johnson, in the early hours of June 23, 2011,

causing catastrophic bodily injuries. See Exhibit B at ¶¶ 1, 19-22, 35.

       12.     The Complaint alleges that Devereux was negligent in failing to properly hire

and/or instruct its employees on procedures for monitoring the whereabouts of Devereux

residents; failing to properly maintain and supervise the premises; and failing to supervise its

employees. See Exhibit B at ¶ 13.

       13.     The Complaint also alleges that Devereux was responsible for assault and battery

because it stood in loco parentis for Shykir Crew, knew of the danger he posed to others, and

failed to prevent foreseeable harm. See Exhibit B at ¶ 36.

       14.     On or about March 17, 2017, a jury ruled in favor of Johnson, and against

Devereux, in the amount of $11,031,000.

       15.     The jury found that Devereux, through its employees, was grossly negligent, and

that such gross negligence was a factual cause of Johnson’s injuries.

       16.     The docket in the Johnson Claim reflects that post-trial briefing is ongoing.

       17.     Upon information and belief, upon the conclusion of post-trial motions, Devereux

will pursue an appeal.




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                                THE HOMELAND POLICIES

       18.      Homeland issued a Health Care Organizations and Providers Professional

Liability, General Liability and Employee Benefit Liability Policy to Devereux under Policy No.

MPP-5447-13 for the policy period July 1, 2013 to July 1, 2014 (“2013-14 Policy”). A true and

correct copy of the 2013-14 Policy is attached hereto as Exhibit C.

       19.      The 2013-14 Policy provides limits of $4 million for Each Claim, subject to a $2

million Per Claim deductible, applicable to healthcare professional liability claims.

       20.      The 2013-14 Policy’s Insuring Agreement states, in pertinent part:

       I.       INSURING AGREEMENTS

       (A)      Claims Made Professional Liability Insurance:

                The Underwriter will pay up to the applicable Limit of Liability shown in
                ITEM 4.A. of the Declarations on behalf of the Insured any Loss,
                including Defense Expenses, that the Insured is legally obligated to pay
                as a result of any covered Claim for a Professional Services Wrongful
                Act happening on or after the Retroactive Date; provided, that the Claim
                is first made against the Insured during the Policy Period or applicable
                Extended Reporting Period.

       21.      The 2013-14 Policy includes the following language in the General Conditions

section:

       (D)      Reporting of Claims, Occurrences and Circumstances

       (1)      If, during the Policy Period or any Extended Reporting Period, any
                Claim for a Wrongful Act or an Occurrence under INSURING
                AGREEMENT (A) or (C) is first made against any Insured, as a condition
                precedent to its right to any coverage under this Policy, the Insured
                shall give the Underwriter written notice of such Claim as soon as
                practicable thereafter, but in no event later than:

                (a)    thirty (30) days after the Expiration Date or earlier cancellation
                       date of this Policy; or

                (b)    the expiration of any Extended Reporting Period.



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       22.     The 2013-14 Policy includes Endorsement No. 4, titled “Grace Period for Notice

of Claims Upon Renewal of Policy,” which states that if the policy is renewed, Clause (1)(a) of

General Condition (D) (in paragraph 21, above), is amended to allow Devereux sixty (60) days

after the expiration of the policy period to provide written notice of a claim.

       23.     The 2013-14 Policy also includes a provision in the General Conditions section

related to payment of the deductible, which states in relevant part:

       (A)     Limits of Liability

       (8)     The Insured shall be responsible for payment in full of the applicable
               deductible or self-insured retention stated in ITEM 4 of the Declarations,
               and the Underwriter’s obligation to pay Loss, including Defense
               Expenses, under this Policy shall be excess of such deductible or self-
               insured retention. The applicable deductible or self-insured retention shall
               apply to each Claim or Related Claims (subject to the applicable
               aggregate deductible or self-insured retention amount, if any), and shall be
               eroded (or exhausted) by the Insured’s payment of Loss, including
               Defense Expenses. The Underwriter shall have no obligation whatsoever,
               either to the Insured or any other person or entity, to pay all or any
               portion of the applicable deductible or self-insured retention on behalf of
               the Insured. The Underwriter shall, however, at its sole discretion, have
               the right and option to do so, in which event the Insured will repay the
               Underwriter any amounts so paid.

       24.     Homeland renewed the policy under Policy No. MPP-6333-14, for the policy

period July 1, 2014 to July 1, 2016 (“2014-16 Policy”). A true and correct copy of the 2014-16

Policy is attached hereto as Exhibit D.

       25.     The 2014-16 Policy provides limits of $10 million for Each Claim, subject to a $4

million Per Claim deductible, applicable to healthcare professional liability claims.

       26.     The 2014-16 Policy’s Insuring Agreement states, in pertinent part:

               I.      INSURING AGREEMENTS

               (A)     Claims Made Professional Liability Insurance:




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               The Underwriter will pay up to the applicable Limit of Liability shown in
               ITEM 4.A. of the Declarations on behalf of the Insured any Loss that the
               Insured is legally obligated to pay as a result of any covered Claim for a
               Professional Services Wrongful Act happening on or after the
               Retroactive Date; provided, that the Claim is first made against the
               Insured during the Policy Period or applicable Extended Reporting
               Period, and reported to the Underwriter in accordance with GENERAL
               CONDITION (C) of this Policy.

       27.     General Condition (C) states as follows:

       (C)     Reporting of Claims, Occurrences and Circumstances:
       (1)     If, during the Policy Period or any Extended Reporting Period, any
               Claim for a Wrongful Act under INSURING AGREEMENT (A) or (C)
               is first made against any Insured, as a condition precedent to its right to
               any coverage under this Policy, the Insured shall give the Underwriter
               written notice of such Claim as soon as practicable thereafter, but in no
               event later than:

               (a)     thirty (30) days after the Expiration Date or earlier cancellation
                       date of this Policy; or

               (b)     the expiration of any Extended Reporting Period.

       28.     The 2014-16 Policy also includes a provision in the General Conditions section

related to payment of the deductible, which states in relevant part:

       (A)     Limits of Liability

       (7)(a) The Insured shall be responsible for payment in full of the applicable
              deductible or self-insured retention stated in ITEM 4 of the Declarations,
              and the Underwriter’s obligation to pay Loss or Defense Expenses, under
              this Policy shall be excess of such deductible or self-insured retention. The
              applicable deductible or self-insured retention shall apply to each Claim
              or Related Claims (subject to the applicable aggregate deductible or self-
              insured retention amount, if any), and shall be eroded (or exhausted) by
              the Insured’s payment of Loss or Defense Expenses. The Underwriter
              shall have no obligation whatsoever, either to the Insured or any other
              person or entity, to pay all or any portion of the applicable deductible or
              self-insured retention on behalf of the Insured. The Underwriter shall,
              however, at its sole discretion, have the right and option to do so, in which
              event the Insured will repay the Underwriter any amounts so paid.

       29.     The Limits of Liability provision in the 2014-16 Policy also states:


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       (A)     Limits of Liability

       (7)(b) If a “Deductible” is selected under any Insuring Agreement in ITEM 4 of
              the Declarations, any amounts paid within such deductible will reduce,
              and may exhaust, the applicable Limits of Liability for such Insuring
              Agreement.

                             DEVEREUX’S INSURANCE CLAIM

       30.     Devereux was served with the Writ of Summons in the Johnson Claim on June

20, 2014, during the policy period of the 2013-14 Policy.

       31.     Devereux reported the Johnson Claim to Homeland on December 16, 2014, more

than 60 days after the 2013-14 Policy expired.

       32.     On January 14, 2015, Homeland’s claims manager sent Devereux a reservation of

rights letter, generally reserving all rights under the policy with respect to coverage for the

Johnson Claim.

       33.     Homeland’s coverage obligation, if any, did not exist until Devereux paid the

entirety of the Each Claim deductible.

       34.     Therefore, Devereux did not request a defense from Homeland.

       35.     Devereux paid for and controlled the defense of the Johnson Claim.

       36.     The jury verdict handed down in March of 2017 exceeds the deductible amounts

of either policy, thus potentially implicating Homeland’s limits.

       37.     Accordingly, Homeland seeks a declaration that it has no duty to indemnify

Devereux under the 2013-14 Policy and the 2014-16 Policy for the verdict because the Johnson

Claim is not covered under either policy.




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                                        COUNT I
                       (Declaratory Judgment as to the 2013-14 Policy)

       38.     Homeland incorporates herein by reference the allegations set forth in Paragraphs

1 through 37 above.

       39.     An actual, justiciable controversy exists between Homeland and Devereux

concerning their respective rights and obligations under the 2013-14 Policy with respect to the

Johnson Claim.

       40.     The 2013-14 Policy only provides coverage for a “Claim” for a “Professional

Services Wrongful Act” that is “first made against the Insured during the Policy Period or

applicable Extended Reporting Period.”

       41.     Furthermore, General Condition (D)(1) requires that Devereux, as a “condition

precedent” to coverage, provide notice of the Claim to Homeland before the end of the policy

period or any extended reporting period, which in this case was extended by the Grace Period

endorsement to 60 days after the policy’s July 1, 2014 expiration date.

       42.     The Claim was first made against Devereux at the latest on June 20, 2014, when it

was served with the Writ of Summons.

       43.     In order to satisfy conditions precedent to coverage, Devereux was obligated to

report the Claim by no later than September 1, 2014, or 60 days after the policy’s expiration date.

       44.     However, Devereux did not report the Johnson Claim to Homeland until

December 16, 2014.

       45.     Accordingly, the Johnson Claim does not fall within the scope of coverage

provided by the 2013-14 Policy.

       46.     Homeland therefore has no duty to indemnify Devereux for the jury verdict in the

Johnson Claim under the 2013-14 Policy.


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                                            COUNT II
                           (Declaratory Judgment as to the 2014-16 Policy)

          47.      Homeland incorporates herein by reference the allegations set forth in Paragraphs

1 through 46 above.

          48.      An actual, justiciable controversy exists between Homeland and Devereux

concerning their respective rights and obligations under the 2014-16 Policy with respect to the

Johnson Claim.

          49.      The 2014-16 Policy only provides coverage for a “Claim” for a “Professional

Services Wrongful Act” that is “first made against the Insured during the Policy Period or

applicable Extended Reporting Period, and reported to the Underwriter in accordance with

GENERAL CONDITION (C) of this Policy,” which requires notice no later than 30 days after

expiration of the policy period.

          50.      The Claim was first made against Devereux at the latest on June 20, 2014, when it

was served with the Writ of Summons.

          51.      Therefore, the Claim was first made prior to the start of the 2014-16 Policy

Period.

          52.      Accordingly, the Johnson Claim does not fall within the scope of coverage

provided by the 2014-16 Policy.

          53.      Homeland therefore has no duty to indemnify Devereux for the jury verdict in the

Johnson Claim under the 2014-16 Policy.

          WHEREFORE, Plaintiff Homeland respectfully requests that this Honorable Court enter

judgment in its favor and against Defendants, as follows:

          a.       With respect to Count I, a declaration that Homeland has no duty to indemnify
                   Devereux for the Johnson Claim;



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                        b.     With respect to Count II, a declaration that Homeland has no duty to indemnify
                               Devereux for the Johnson Claim; and

                        c.     An award to Homeland of its costs of suit and such other relief the Court deems
                               just and appropriate.



                                                            Respectfully submitted,

                                                            GORDON & REES
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